                 Case 18-09086                     Doc 1         Filed 03/28/18 Entered 03/28/18 17:33:13                                      Desc Main
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     Fill in this information to identify your case:


     United States Bankruptcy Court for the :

     _____NORTHERN_____ District of _ ILLINOIS__
                                                (State)


     Case Number    (If known):   __________________________ Chapter you are filing under:
                                                                            Chapter 7
                                                                            Chapter 11
                                                                            Chapter 12                                                          Check if this is an
                                                                            Chapter 13                                                          amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                               12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

  Part 1:       Identify Yourself


                                               About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):

1.      Your full name

        Write the name that is on your         Christie
                                               ______________________________________________                     ______________________________________________
        government-issued picture              First name                                                         First name
        identification (for example,
        your driver’s license or               Irene
                                               ______________________________________________                     ______________________________________________
        passport).                             Middle name                                                        Middle name

                                               Wright
                                               ______________________________________________                     ______________________________________________
        Bring your picture                     Last name                                                          Last name
        identification to your meeting
        with the trustee.                      ______________________                                             ______________________
                                               Suffix (Sr., Jr., II, III)                                         Suffix (Sr., Jr., II, III)



2.      All other names you
                                               ______________________________________________                     ______________________________________________
        have used in the last 8                First name                                                         First name
        years
                                               ______________________________________________                     ______________________________________________
                                               Middle name                                                        Middle name
        Include your married or
        maiden names.                          ______________________________________________                     ______________________________________________
                                               Last name                                                          Last name


                                               ______________________________________________                     ______________________________________________
                                               First name                                                         First name

                                               ______________________________________________                     ______________________________________________
                                               Middle name                                                        Middle name

                                               ______________________________________________                     ______________________________________________
                                               Last name                                                          Last name



3.      Only the last 4 digits of
                                                           3188
                                               XXX - XX - ________________                                        XXX - XX - ________________
        your Social Security
        number or federal
        Individual Taxpayer                    OR                                                                 OR
        Identification number

                                               9XX        - XX - ____ ____ ____ ____                              9XX    - XX - ____ ____ ____ ____



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Debtor 1   Christie                  Irene                     Wright
           __________________________________________________________________                            Case Number (if known) ______________________________
           First Name                 Middle Name                   Last Name



                                        About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                            I have not used any business names or EINs.                         I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in            ______________________________________________                     ______________________________________________
      the last 8 years                  Business name                                                      Business name

                                        ______________________________________________                     ______________________________________________
      Include trade names and           Business name                                                      Business name
      doing business as names
                                        ___ ___ - ___ ___ ___ ___ ___ ___ ___                              ___ ___ - ___ ___ ___ ___ ___ ___ ___
                                        EIN                                                                EIN

                                        ___ ___ - ___ ___ ___ ___ ___ ___ ___                              ___ ___ - ___ ___ ___ ___ ___ ___ ___
                                        EIN                                                                EIN




5.    Where you live                                                                                       If Debtor 2 lives at a different address:


                                        3537 W 78th Pl
                                        ______________________________________________                     ______________________________________________
                                        Number    Street                                                   Number    Street

                                        ______________________________________________                     ______________________________________________


                                        Chicago                        IL      60652
                                        ______________________________________________                     ______________________________________________
                                        City                           State     ZIP Code                  City                           State     ZIP Code

                                        COOK
                                        ______________________________________________                     ______________________________________________
                                        County                                                             County



                                        If your mailing address is different from the one                  If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send              the one above, fill it in here. Note that the court
                                        any notices to you at this mailing address.                        will send any notices this mailing address.


                                        ______________________________________________                     ______________________________________________
                                        Number    Street                                                   Number    Street

                                        ______________________________________________                     ______________________________________________
                                        P.O. Box                                                           P.O. Box

                                        ______________________________________________                     ______________________________________________
                                        City                           State     ZIP Code                  City                           State     ZIP Code




6.    Why you are choosing               Check one:                                                        Check one:
      this district to file for
      bankruptcy.                           Over the last 180 days before filing this petition,              Over the last 180 days before filing this petition,
                                            I have lived in this district longer than in any                 I have lived in this district longer than in any
                                            other district.                                                  other district.

                                            I have another reason. Explain.                                  I have another reason. Explain.
                                            (See 28 U.S.C. § 1408                                            (See 28 U.S.C. § 1408


                                         ______________________________________________                    ______________________________________________

                                         ______________________________________________                    ______________________________________________

                                         ______________________________________________                    ______________________________________________

                                         ______________________________________________                    ______________________________________________




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Debtor 1    Christie                  Irene                     Wright
            __________________________________________________________________                               Case Number (if known) ______________________________
            First Name                  Middle Name                    Last Name




  Part 2:       Tell the Court About Your Bankruptcy Case



7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals
      Bankruptcy Code you                  Filing for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file                      Chapter 7
      under
                                                Chapter 11

                                                Chapter 12

                                                Chapter 13


8.    How you will pay the fee                  I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                                I need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                                I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                        No
      bankruptcy within the
      last 8 years?                             Yes.            ILNBKE
                                                       District ___________________________          04/02/2009 Case Number ________________________
                                                                                            When _________________                  09-11809
                                                                                                        MM / DD / YYYY


                                                                None
                                                       District ___________________________ When _________________ Case Number ________________________
                                                                                                        MM / DD / YYYY


                                                       District ___________________________ When _________________ Case Number ________________________
                                                                                                        MM / DD / YYYY




10.   Are any bankruptcy                        No
      cases pending or being
      filed by a spouse who is                  Yes.   Debtor __________________________________________________ Relationship to you _____________________
      not filing this case with                        District ___________________________ When _________________ Case Number, if known ________________
      you, or by a business                                                                             MM / DD / YYYY
      parter, or by
      affiliate?
                                                       Debtor __________________________________________________ Relationship to you _____________________
                                                       District ___________________________ When _________________ Case Number, if known ________________
                                                                                                        MM / DD / YYYY




11.   Do you rent your                          No.    Go to line 12
      residence?                                Yes.   Has your landlord obtained an eviction judgment against you?



                                                             No. Go to line 12.
                                                             Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                             this bankruptcy petition.




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Debtor 1    Christie                  Irene                     Wright
            __________________________________________________________________                                  Case Number (if known) ______________________________
            First Name                    Middle Name                     Last Name




 Part 3:        Report About Any Businesses You Own as a Sole Proprietor



12.   Are you a sole proprietor                   No.     Go to Part 4.
      of any full- or part-time                   Yes.    Name and location of business
      business?
      A sole proprietorship is a                          _______________________________________________________________________________________
      business you operate as an                          Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnerhsip, or                      _______________________________________________________________________________________
      LLC.                                                Number      Street
      If you have more than one
      sole proprietorship, use a                          _______________________________________________________________________________________
      separate sheed and attach it
      to this petition.
                                                          _________________________________________________             ______      ________________________
                                                          City                                                                      State        Zip Code


                                                          Check the appropriate box to describe your business:

                                                                 Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                                 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                                 Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                                 Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                                 None of the above



13.   Are you filing under                   If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set
      Chapter 11 of the                      appropriate deadlines. If you indicate that you are a small business debtor, you must attach your most recent
                                             balance sheet, statement of operations, cash-flow statement, and federal income tax return or if any of these
      Bankruptcy Code and
                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?                                     No. I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                        No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                           the Bankruptcy Code.

                                                  Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                        Bankruptcy Code.

  Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention




14.   Do you own or have any                      No.
      property that poses or is
                                                  Yes. What is the hazard?            _________________________________________________________________
      alleged to pose a threat
      of imminent and
      indentifiable hazard to                                                         _________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                         If immediate attention is needed, why is it needed? _________________________________________
      immediate attention?
      For example, do you own
      perishable goods, or livestock                                                  _________________________________________________________________
      that must be fed, or a building
      that needs urgent repairs?

                                                         Where is the property? _______________________________________________________________
                                                                                       Number      Street



                                                                                       _______________________________________________________________

                                                                                       ____________________________________ ______          _______________
                                                                                       City                                             State       ZIP Code




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Debtor 1   Christie                  Irene                     Wright
           __________________________________________________________________                                  Case Number (if known) ______________________________
           First Name                    Middle Name                    Last Name




 Part 5:        Explain Your Efforts to Receive a Briefing About Credit Counseling


                                            About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a                   You must check one:                                                  You must check one:
      briefing about credit
      counseling.                               I received a briefing from an approved credit                      I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
      bankruptcy. You must                      Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
      truthfully check one of the               plan, if any, that you developed with the agency.                   plan, if any, that you developed with the agency.
      following choices. If you
      cannot do so, you are not                 I received a briefing from an approved credit                      I received a briefing from an approved credit
      eligible to file.                         counseling agency within the 180 days before I                     counseling agency within the 180 days before I
                                                filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
      If you file anyway, the court             certificate of completion.                                         certificate of completion.
      can dismiss your case, you
      will lose whatever filing fee             Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
      you paid, and your creditors              you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
      can begin collection activities           plan, if any.                                                       plan, if any.
      again.
                                                I certify that I asked for credit counseling                       I certify that I asked for credit counseling
                                                services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.

                                                To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                                required you to file this case.                                     required you to file this case.

                                                Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after      you file.        still receive a briefing within 30 days after      you file.
                                                You must file a certificate from the          approved              You must file a certificate from the          approved
                                                agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                                may be dismissed.                                                   may be dismissed.
                                                Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                                days.                                                               days.

                                                I am not required to receive a briefing about                      I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                   Incapacity.    I have a mental illness or a mental                 Incapacity.    I have a mental illness or a mental
                                                                    deficiency that makes me                                           deficiency that makes me
                                                                    incapable of realizing or making                                   incapable of realizing or making
                                                                    rational decisions about finances.                                 rational decisions about finances.

                                                   Disability.    My physical disability causes me                    Disability.    My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.

                                                   Active duty. I am currently on active military                     Active duty. I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.

                                                If you believe you are not required to receive a                    If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court.




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Debtor 1   Christie                  Irene                     Wright
           __________________________________________________________________                                Case Number (if known) ______________________________
           First Name                 Middle Name                     Last Name




 Part 6:       Answer These Questions for Reporting Purposes


                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                  as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                    No. Go to line 16b.
                                                    Yes. Go to line 17.

                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.

                                                    No. Go to line 16c.
                                                    Yes. Go to line 17.

                                        16c. State the type of debts you owe that are not consumer debts or business debts.

                                                ________________________________________________________________

17.   Are you filing under
                                                No. I am not filing under Chapter 7. Go to line 18.
      Chapter 7?
                                                Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      Do you estimate that after                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      any exempt property is
      excluded and                                        No.
      administrative expenses
                                                          Yes.
      are paid that funds will be
      available for distribution
      to unsecured creditors?

18.   How many creditors do                     1-49                                    1,000-5,000                                     25,001-50,000
      you estimate that you                     50-99                                   5,001-10,000                                    50,001-100,000
      owe?                                      100-199                                 10,001-25,000                                   More than 100,000
                                                200-999

19.   How much do you                           $0-$50,000                              $1,000,001-$10 million                          $500,000,001-$1 billion
      estimate your assets to                   $50,001-$100,000                        $10,000,001-$50 million                         $1,000,000,001-$10 billion
      be worth?                                 $100,001-$500,000                       $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                                $500,001-$1 million                     $100,000,001-$500 million                       More than $50 billion

20.   How much do you                           $0-$50,000                              $1,000,001-$10 million                          $500,000,001-$1 billion
      estimate your liabilities                 $50,001-$100,000                        $10,000,001-$50 million                         $1,000,000,001-$10 billion
      to be?                                    $100,001-$500,000                       $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                                $500,001-$1 million                     $100,000,001-$500 million                       More than $50 billion

 Part 7:       Sign Below


                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                 correct.

                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.

                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U.S.C. §§ 152, 1341, 1519, and 3571.




                                         û /s/ Christie Irene Wright
                                                ________________________________________
                                                Signature of Debtor 1
                                                                                                                û     ______________________________________
                                                                                                                      Signature of Debtor 2


                                                             03/27/2018
                                                Executed on _________________                                         Executed on _________________
                                                               MM / DD / YYYY                                                        MM / DD / YYYY

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Debtor 1   Christie                  Irene                     Wright
           __________________________________________________________________                               Case Number (if known) ______________________________
           First Name                 Middle Name                   Last Name




                                    I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
For your attorney, if you are       proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
represented by one                  each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
                                    11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that
if you are not represented          the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                         û /s/ Lisa LaShawn Haley
                                          ________________________________________
                                          Signature of Attorney for Debtor
                                                                                                                 Date
                                                                                                                             Date: 03/28/2018
                                                                                                                            _______________________
                                                                                                                            MM / DD / YYYY



                                               Lisa LaShawn Haley
                                          _______________________________________________________________________________
                                          Printed name

                                              Geraci Law L.L.C.
                                          _______________________________________________________________________________
                                          Firm name

                                              55 E. Monroe St., #3400
                                          _______________________________________________________________________________
                                          Number Street

                                          _______________________________________________________________________________


                                                Chicago
                                          _____________________________________________
                                                                                                               IL              60603
                                                                                                       __________ ____________________
                                          City                                                                State        ZIP Code



                                                          312-332-1800
                                          Contact Phone ________________________________                                         ndil@geracilaw.com
                                                                                                                 Email address ___________________



                                                6307614                                                             IL
                                          ______________________________________________                         ___________
                                          Bar number                                                             State




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   Fill in this information to identify your case:


    Debtor 1                Christie                  Irene                     Wright
                            __________________________________________________________________
                            First Name                        Middle Name                             Last Name


    Debtor 2                __________________________________________________________________
    (Spouse, if filing)     First Name                        Middle Name                             Last Name


    United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                                (State)
    Case Number ______________________________________________
    (If known)                                                                                                                                                           Check if this is an
                                                                                                                                                                         amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form . If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


  Part 1:                 Summarize Your Assets




                                                                                                                                                                          Your assets
                                                                                                                                                                          Value of what you own


 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B........................................................................................................
                                                                                                                                                                                               $0


      1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................
                                                                                                                                                                                      $ 127,900


      1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................                 $ 127,900




  Part 2:                 Summarize Your Liabilities



                                                                                                                                                                          Your liabilities
                                                                                                                                                                          Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
      2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                                      $106,556


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
      3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...............................................
                                                                                                                                                                                               $0
                                                                                                                                                                                        $30,930
      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F...........................................




  Part 3:                 Summarize Your Liabilities



 4. Schedule I: Your Income (Official Form 106I)
      Copy your combined monthly income from line 12 of Schedule I ........................................................................................
                                                                                                                                                                                      $3,371.08

 5. Schedule J: Your Expenses (Official Form 106J)
      Copy your monthly expenses from line 22c of Schedule J ..................................................................................................
                                                                                                                                                                                      $2,795.88




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Debtor 1     Christie                  Irene                     Wright
             __________________________________________________________________                                 Case Number (if known) ______________________________
              First Name                  Middle Name                     Last Name




 Part 4:          Answer These Questions for Administrative and Statistical Records


 6. Are you filing for bankruptcy under Chapter 7, 11 or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes



 7. What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose .” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules .




 8. From the Statement of Your Current Monthly Income : Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14 .                                                                                   $ 3,571.27




 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                     Total claim

     From Part 4 of Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                  0.00
                                                                                                                   $______________________


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         0.00
                                                                                                                   $______________________


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               0.00
                                                                                                                   $______________________


    9d. Student loans. (Copy line 6f.)                                                                                0.00
                                                                                                                   $______________________


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                       0.00
                                                                                                                   $______________________
    priority claims. (Copy line 6g.)


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                            0.00
                                                                                                                   $______________________




    9g. Total. Add lines 9a through 9f.                                                                               0.00
                                                                                                                   $______________________




Official Form 106Sum           Record # 761247          Summary of Your Assets and Liabilities and Certain Statistical Information                                      page 2
                              Case 18-09086                       Doc 1             Filed 03/28/18 Entered 03/28/18 17:33:13                                                            Desc Main
   Fill in this information to identify your case and this filing:                   Document     Page 10 of 61
   Debtor 1                Christie                  Irene                     Wright
                           __________________________________________________________________
                           First Name                        Middle Name                         Last Name


   Debtor 2                __________________________________________________________________
   (Spouse, if filing)     First Name                        Middle Name                         Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                                 (State)
   Case Number ______________________________________________                                                                                                                                     Check if this is an
    (If known)                                                                                                                                                                                    amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional
pages, write your name and case number (if known). Answer every question.

   Part 1:               Describe Each Residence, Building, Land, or Other Real Esate You Own or Have an Interest In

 01. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
               No.
               Yes.         Describe.....
                                                                                   What is the property? Check all that apply.                                           Do not deduct secured claims or exemptions. Put
                                                                                      Single-family home                                                                 the amount of any secured claims on Schedule D:
      3537 W 78th Place
      ______________________________________________                                                                                                                     Creditors Who Have Claims Secured by Property
      Street address, if available, or other description                              Duplex or multi-unit building

                                                                                      Condominium or cooperative                                                    Current value of the             Current value of the
      ______________________________________________
                                                                                                                                                                    entire property?                 portion you own?
                                                                                      Manufactured or mobile home

       Chicago                                         IL                  60652      Land                                                                                    115,000.00
                                                                                                                                                                    $________________                          115,000.00
                                                                                                                                                                                                     $________________
      ______________________________________________
      City                           State     ZIP Code                               Investment property

                                                                                      Timeshare
      ______________________________________________                                                                                                                Describe the nature of your ownership
      County                                                                          Other _______________________________                                         interest (such as fee simple, tenancy by
                                                                                                                                                                    the entireties, or a life estat), if known.
                                                                                   Who has an interest in the property? Check one.
                                                                                      Debtor 1 only                                                                 _____________________________________
                                                                                      Debtor 2 only

                                                                                      Debtor 1 and Debtor 2 only
                                                                                                                                                                            Check if this is a community property
                                                                                                                                                                            (see instructions)
                                                                                      At least one of the debtors and another

                                                                                   Other information you wish to add about this item, such as local
                                                                                                                          19-26-415-005-0000
                                                                                   property identification number: __________________________________


 2. Add the dollar value of the portion you own for all of your entries fro Part 1, including any entries for pages
    you have attached for Part 1. Write that number here .............................................................................................................    -->                                    $115,000.00


   Part 2:               Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 03. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
               No.
               Yes.         Describe.....
                         Make:                          Nissan
                                                        ____________               Who has an interest in the property? Check one.                                       Do not deduct secured claims or exemptions. Put
                                                                                                                                                                         the amount of any secured claims on Schedule D:
                         Model:                         Altima
                                                        ____________                  Debtor 1 only
                                                                                                                                                                         Creditors Who Have Claims Secured by Property
                                                                                      Debtor 2 only
                         Year:                          2014
                                                        ____________                                                                                                Current value of the             Current value of the
                                                                                      Debtor 1 and Debtor 2 only
                                                         70,000                                                                                                     entire property?                 portion you own?
                         Approximate Mileage:           ____________
                                                                                      At least one of the debtors and another
                         Other information:                                                                                                                                    10,650.00
                                                                                                                                                                    $________________                            10,650.00
                                                                                                                                                                                                     $________________
                                                                                        Check if this is community property (see
                         2014 Nissan Altima with over 70,000
                                                                                        instructions)
                         miles




Official Form 106A/B                        Record #        761247                                Schedule A/B: Property                                                                                            Page 1 of 6
             Christie
                           Case 18-09086
                                       Irene
                                                                Doc 1
                                                                 Wright
                                                                                  Filed 03/28/18 Entered 03/28/18 17:33:13 Desc Main
Debtor 1     __________________________________________________________________
             First Name                           Middle Name
                                                                                   Document
                                                                                       Last Name
                                                                                                            61Number (if known) ______________________________
                                                                                                Page 11 ofCase
 04. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
             No.
             Yes.         Describe.....
 5. Add the dollar value of the portion you own for all of your entries fro Part 2, including any entries for pages
                                                                                                                                                                                              $ 10,650.00
    you have attached for Part 2. Write that number here ................................................................................................   -->

   Part 3:          Describe Your Personal and Household Items


 Do you own or have any legal or equitable interest in any of the following items?                                                                                         Current value of the
                                                                                                                                                                           portion you own?
                                                                                                                                                                           Do not deduct secured claims
                                                                                                                                                                           or exemptions
 06. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
             No.
             Yes.         Describe.....
                                           Furniture, linens, small appliances, table & chairs, bedroom set                                                       $1,000
                                                                                                                                                                                              1,000.00
                                                                                                                                                                                       $____________
 07. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
       collections; electronic devices including cell phones, cameras, media players, games
             No.
             Yes.         Describe.....
                                           TV, computer, printer, music collection, cell phone                                                                    $500
                                                                                                                                                                                               500.00
                                                                                                                                                                                       $____________
 08. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
       stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
             No.
             Yes.         Describe.....
                                                                                                                                                                                                 0.00
                                                                                                                                                                                       $____________
 09. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
       and kayaks; carpentry tools; musical instruments
             No.
             Yes.         Describe.....
                                                                                                                                                                                                 0.00
                                                                                                                                                                                       $____________
 10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No.
             Yes.         Describe.....
                                                                                                                                                                                                 0.00
                                                                                                                                                                                       $____________
 11. Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No.
             Yes.         Describe.....
                                           Everyday clothes, shoes, accessories                                                                                   $100
                                                                                                                                                                                               100.00
                                                                                                                                                                                       $____________
 12. Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
       gold, silver
             No.
             Yes.         Describe.....
                                           Everyday jewelry, costume jewelry                                                                                       $50
                                                                                                                                                                                                50.00
                                                                                                                                                                                       $____________
 13. Non-farm animals
       Examples: Dogs, cats, birds, horses
             No.
             Yes.         Describe.....
                                                                                                                                                                                                 0.00
                                                                                                                                                                                       $____________




Official Form 106A/B                      Record #      761247                                     Schedule A/B: Property                                                                     Page 2 of 6
             Christie
                            Case 18-09086
                                       Irene
                                                                      Doc 1
                                                                 Wright
                                                                                          Filed 03/28/18 Entered 03/28/18 17:33:13 Desc Main
Debtor 1     __________________________________________________________________
              First Name                               Middle Name
                                                                                           Document
                                                                                               Last Name
                                                                                                                    61Number (if known) ______________________________
                                                                                                        Page 12 ofCase
 14. Any other personal and household items you did not already list, including any health aids you did not list
             No.
             Yes.          Describe.....
                                                                                                                                                                                                           0.00
                                                                                                                                                                                                 $____________
 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                          $1,650.00
     for Part 3. Write that number here ....................................................................................................................................   -->

   Part 4:          Describe Your Financial Assets


 Do you own or have any legal or equitable interest in any of the following?                                                                                                         Current value of the
                                                                                                                                                                                     portion you own?
                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                     or exemptions
 16. Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
             No.
             Yes.          Describe.....
                                                                                                                                                                                                           0.00
                                                                                                                                                                                                 $____________
 17. Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
       and other similar institutions. If you have multiple accounts with the same institution, list each.
             No.
             Yes.          Describe.....     Account Type:                                     Institution name:
                                             Checking Account                                        Citibank                                                                                            600.00
                                                                                                                                                                                                 $____________
                                                                                                                                                                                                         600.00
                                                                                                                                                                                                 $____________
 18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts
             No.
             Yes.          Describe.....     Institution or issuer name:
                                                                                                                                                                                                           0.00
                                                                                                                                                                                                 $____________
 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
             No.
             Yes.          Describe.....     Name of Entity and Percent of Ownership:
                                                                                                                                                                                                           0.00
                                                                                                                                                                                                 $____________
 20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No.
             Yes.          Describe.....     Issuer name:
                                                                                                                                                                                                           0.00
                                                                                                                                                                                                 $____________
 21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
             No.
             Yes.          Describe.....     Type of account and Institution name:
                                                                                                                                                                                                           0.00
                                                                                                                                                                                                 $____________
 22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
             No.
             Yes.          Describe.....     Institution name or individual:
                                                                                                                                                                                                           0.00
                                                                                                                                                                                                 $____________
 23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
             No.
             Yes.          Describe.....     Issuer name and description:
                                                                                                                                                                                                           0.00
                                                                                                                                                                                                 $____________
 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
             No.
             Yes.          Describe.....     Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
                                                                                                                                                                                                           0.00
                                                                                                                                                                                                 $____________
 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
             No.
             Yes.          Describe.....
                                                                                                                                                                                                           0.00
                                                                                                                                                                                                 $____________



Official Form 106A/B                        Record #         761247                                        Schedule A/B: Property                                                                       Page 3 of 6
             Christie
                            Case 18-09086
                                       Irene
                                                                      Doc 1
                                                                 Wright
                                                                                          Filed 03/28/18 Entered 03/28/18 17:33:13 Desc Main
Debtor 1     __________________________________________________________________
              First Name                               Middle Name
                                                                                           Document
                                                                                                Last Name
                                                                                                                    61Number (if known) ______________________________
                                                                                                        Page 13 ofCase
 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                       $____________
 27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                       $____________


 Money or property owed to you?                                                                                                                                                            Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured claims
                                                                                                                                                                                           or exemptions


 28. Tax refunds owed to you
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                       $____________
 29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                       $____________
 30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
       Social Security benefits; unpaid loans you made to someone else
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                       $____________
 31. Interest in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
             No.                              Company Name & Beneficiary:
             Yes.          Describe.....
                                               Term Life Insurance                                                                                                                    $0
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                       $____________
 32. Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                       $____________
 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                       $____________
 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                       $____________
 35. Any financial assets you did not already list
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                       $____________

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                                $600.00
     for Part 4. Write that number here .....................................................................................................................................   -->




Official Form 106A/B                        Record #         761247                                         Schedule A/B: Property                                                                            Page 4 of 6
             Christie
                            Case 18-09086
                                       Irene
                                                                      Doc 1
                                                                 Wright
                                                                                          Filed 03/28/18 Entered 03/28/18 17:33:13 Desc Main
Debtor 1     __________________________________________________________________
              First Name                               Middle Name
                                                                                           Document
                                                                                               Last Name
                                                                                                                    61Number (if known) ______________________________
                                                                                                        Page 14 ofCase

   Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37. Do you own or have any legal or equitable interest in any business-related property?
             No.
             Yes.
                                                                                                                                                                                     Current value of the
                                                                                                                                                                                     portion you own?
                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                     or exemptions
 38. Accounts receivable or commissions you already earned
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 39. Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 41. Inventory
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 42. Interests in partnerships or joint ventures
             No.                             Name of Entity and Percent of Ownership:
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 43. Customer lists, mailing lists, or other compilations
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 44. Any business-related property you did not already list
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________

 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here ....................................................................................................................................   -->                          $ 0.00


   Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                    If you own or have an interest in farmland, list it in Part 1.
 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 47. Farm animals
       Examples: Livestock, poultry, farm-raised fish
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 48. Crops—either growing or harvested
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________




Official Form 106A/B                        Record #         761247                                        Schedule A/B: Property                                                                      Page 5 of 6
             Christie
                            Case 18-09086
                                       Irene
                                                                      Doc 1
                                                                 Wright
                                                                                          Filed 03/28/18 Entered 03/28/18 17:33:13 Desc Main
Debtor 1     __________________________________________________________________
              First Name                               Middle Name
                                                                                           Document
                                                                                               Last Name
                                                                                                                    61Number (if known) ______________________________
                                                                                                        Page 15 ofCase
 50. Farm and fishing supplies, chemicals, and feed
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________
 51. Any farm- and commercial fishing-related property you did not already list
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________

 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here ....................................................................................................................................   -->            $0.00




   Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


 53. Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________


 54. Add the dollar value of all of your entries from Part 7. Write that number here .....................................................                               -->                  $0.00



   Part 8:          List the Totals of Each Part of this Form



 55. Part 1: Total real estate, line 2                                                                                                                                               $ 115,000.00

 56. Part 2: Total vehicles, line 5                                                                                                              $ 10,650.00

 57. Part 3: Total personal and household items, line 15                                                                                           $ 1,650.00

 58. Part 4: Total financial assets, line 36                                                                                                           $ 600.00

 59. Part 5: Total business-related property, line 45                                                                                                      $ 0.00

 60. Part 6: Total farm- and fishing-related property, line 52                                                                                             $ 0.00

 61. Part 7: Total other property not listed, line 54                                                                                                      $ 0.00

 62. Total personal property. Add lines 56 through 61. .......................                                                                   $ 12,900.00                          $ 12,900.00



 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                     $127,900.00




Official Form 106A/B                        Record #         761247                                        Schedule A/B: Property                                                         Page 6 of 6
                           Case 18-09086                     Doc 1          Filed 03/28/18 Entered 03/28/18 17:33:13                               Desc Main
                                                                             Document     Page 16 of 61
   Fill in this information to identify your case:


   Debtor 1                Christie                  Irene                     Wright
                           __________________________________________________________________
                           First Name                        Middle Name                  Last Name


   Debtor 2                __________________________________________________________________
   (Spouse, if filing)     First Name                        Middle Name                  Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                          (State)
   Case Number ______________________________________________                                                                                                   Check if this is an
    (If known)                                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                                       04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to
state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to
the amount of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and
tax-exempt retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value
under a law that limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount,
your exemption would be limited to the applicable statutory amount.


   Part 1:               Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions . 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions . 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on                       Current value of the       Amount of the exemption you claim       Specific laws that allow exemption
       Schedule A/B that lists this property                               portion you own

                                                                           Copy the value from        Check only one box for each exemption
                                                                           Schedule A/B
     Brief                       3537 W 78th Place Chicago IL                                                                                 735 ILCS 5/12-901
                                                                                                                                              _____________________________
     description:                60652 - Primary Residence
                                 _________________________                    115,000
                                                                           $________________                 15,000
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               01
                                 ______                                                                  any applicable statutory limit       _____________________________

     Brief                       2014 Nissan Altima with over                                                                                 735 ILCS 5/12-1001(c)
                                                                                                                                              _____________________________
     description:                70,000 miles
                                 _________________________                    10,650
                                                                           $________________                 2,400
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               03
                                 ______                                                                  any applicable statutory limit       _____________________________

     Brief                       Furniture, linens, small appliances,                                                                         735 ILCS 5/12-1001(b)
                                                                                                                                              _____________________________
     description:                table & chairs, bedroom set
                                 _________________________                    1,000
                                                                           $________________                 1,000
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               06
                                 ______                                                                  any applicable statutory limit       _____________________________

     Brief                       TV, computer, printer, music                                                                                 735 ILCS 5/12-1001(b)
                                                                                                                                              _____________________________
     description:                collection, cell phone
                                 _________________________                    500
                                                                           $________________                 500
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               07
                                 ______                                                                  any applicable statutory limit       _____________________________




  Official Form 106C                         Record #      761247                  Schedule C: The Property You Claim as Exempt                                        Page 1 of 2
                      Case 18-09086                    Doc 1    Filed 03/28/18 Entered 03/28/18 17:33:13 Desc Main
Debtor 1     Christie                  Irene                     Document
                                                                 Wright       Page 17 of 61
             __________________________________________________________________          Case Number (if known) ______________________________
              First Name                     Middle Name               Last Name




   Part 2:         Additional Page


      Brief description of the property and line on            Current value of the     Amount of the exemption you claim       Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own

                                                               Copy the value from      Check only one box for each exemption
                                                               Schedule A/B
     Brief                 Everyday clothes, shoes,                                                                             735 ILCS 5/12-1001(a),(e)
                                                                                                                                _____________________________
     description:          accessories
                           _________________________              100
                                                               $________________                100
                                                                                            $ _________________________         _____________________________
                                                                                                                                _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         11
                           ______                                                           any applicable statutory limit      _____________________________

     Brief                 Everyday jewelry, costume jewelry                                                                    735 ILCS 5/12-1001(b)
                                                                                                                                _____________________________
     description:          _________________________              50
                                                               $________________                50
                                                                                            $ _________________________         _____________________________
                                                                                                                                _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         12
                           ______                                                           any applicable statutory limit      _____________________________

     Brief                 Checking Account, Citibank,                                                                          735 ILCS 5/12-1001(b)
                                                                                                                                _____________________________
     description:          600.00
                           _________________________              600
                                                               $________________                600
                                                                                            $ _________________________         _____________________________
                                                                                                                                _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         17
                           ______                                                           any applicable statutory limit      _____________________________

 3. Are you claiming a homestead exemption of more than $160,375?

    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment .)

           No.

           Yes. Did you acquire the property covered by the exemption within 1 ,215 days before you filed this case?

                 No

                 Yes.




  Official Form 106C                  Record #        761247           Schedule C: The Property You Claim as Exempt                                      Page 2 of 2
                                 Case 18-09086                       Doc 1       Filed 03/28/18 Entered 03/28/18 17:33:13                                       Desc Main
      Fill in this information to identify your case:                             Document     Page 18 of 61
      Debtor 1                Christie                  Irene                     Wright
                              __________________________________________________________________
                              First Name                     Middle Name                     Last Name


      Debtor 2                __________________________________________________________________
      (Spouse, if filing)     First Name                     Middle Name                     Last Name



      United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                             (State)
      Case Number ______________________________________________                                                                                                        Check if this is an
       (If known)                                                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).
 1. Do any creditors have claims secured by your property?

              No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

              Yes. Fill in all of the information below.


      Part 1:               List All Secured Claims

                                                                                                                                          Column A              Column A               Column C
 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor separately                             Amount of claim       Value of collateral    Unsecured
         for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                            Do not deduct the     that supports this     portion
         As much as possible, list the claims in alphabetical order according to the creditors name.                                      value of collateral   claim                  If any

 2.1                                                                       Describe the property that secures the claim:                    11,122.00
                                                                                                                                          $_____________          10,650.00
                                                                                                                                                                $______________          472.00
                                                                                                                                                                                       $________
              ALLY Financial
             _________________________________
                                                                                                                                          _
             Creditor's Name                                               2014 Nissan Altima with over 70,000 miles
             200 Renaissance Ctr
             _________________________________
              Number                 Street

             _________________________________                             As of the date you file, the claim is: Check all that apply.
                                                                              Contingent
             Detroit                MI 48243
             _________________________________                                Unliquidated
              City                                State   Zip Code
                                                                              Disputed

         Who owes the debt? Check one.                                     Nature of Lien. Check all that apply.
               Debtor 1 only                                                  An agreement you made (such as mortgage or secured
               Debtor 2 only                                                  car loan)
               Debtor 1 and Debtor 2 only                                     Statutory lien (such as tax lien, mechanic's lien)
               At least one of the debtors and another                        Judgment lien from a lawsuit
                                                                              Other (including a right to offset) ____________________
                Check if this claim relates to a
                community debt
                                    2013-10-29
         Date Debt was incurred _____________                                                                   5486____ ____
                                                                           Last 4 digits of account number ____ ____

 2.2                                                                       Describe the property that secures the claim:                    93,812.92
                                                                                                                                          $_____________          115,000.00
                                                                                                                                                                $______________          0.00
                                                                                                                                                                                       $________
              Bayview Loan Servicing
             _________________________________
                                                                                                                                          _
             Creditor's Name                                               3537 W 78th Place Chicago IL 60652 - Primary
             4425 Ponce de Leon Blvd.
             _________________________________                             Residence
              Number                 Street

             _________________________________                             As of the date you file, the claim is: Check all that apply.
                                                                              Contingent
             Miami                  FL 33146
             _________________________________                                Unliquidated
              City                                State   Zip Code
                                                                              Disputed

         Who owes the debt? Check one.                                     Nature of Lien. Check all that apply.
               Debtor 1 only                                                  An agreement you made (such as mortgage or secured
               Debtor 2 only                                                  car loan)
               Debtor 1 and Debtor 2 only                                     Statutory lien (such as tax lien, mechanic's lien)
               At least one of the debtors and another                        Judgment lien from a lawsuit
                                                                              Other (including a right to offset) ____________________
                Check if this claim relates to a
                community debt
         Date Debt was incurred _____________                              Last 4 digits of account number ____ ____ ____ ____

         Add the dollar value of your entries in Column A on this page. Write that number here:                                             104,934.92
                                                                                                                                          $_____________
Official Form 106D                            Record #     761247                  Schedule D: Creditors Who Have Claims Secured by _Property                                            Page 1 of 2
                               Case 18-09086                     Doc 1        Filed 03/28/18 Entered 03/28/18 17:33:13 Desc Main
Debtor 1      Christie                  Irene                     Wright       Document
              __________________________________________________________________
                                                                                            Page 19 ofCase
                                                                                                        61Number (if known) ______________________________
                  First Name                     Middle Name                       Last Name




                      Additional Page                                                                                                          Column A               Column A              Column C
                                                                                                                                               Amount of claim        Value of collateral   Unsecured
   Part 1:            After lsiting any entries on this page, number them beginning with 2.3, followed
                                                                                                                                               Do not deduct the      that supports this    portion
                      by 2.4, and so forth.                                                                                                    value of collateral    claim                 If any

 2.3                                                                   Describe the property that secures the claim:                             1,620.75
                                                                                                                                               $_____________           115,000.00
                                                                                                                                                                      $______________         0.00
                                                                                                                                                                                            $________
            City of Chicago Dept of Water
           _________________________________
                                                                                                                                               _
           Creditor's Name                                             3537 W 78th Place Chicago IL 60652 - Primary
           121 N. LaSalle St
           _________________________________                           Residence
           Number               Street

           Room 107
           _________________________________                           As of the date you file, the claim is: Check all that apply.
                                                                            Contingent
           Chicago                IL  60602
           _________________________________                                Unliquidated
           City                               State   Zip Code
                                                                            Disputed

       Who owes the debt? Check one.                                   Nature of Lien. Check all that apply.
            Debtor 1 only                                                   An agreement you made (such as mortgage or secured
            Debtor 2 only                                                   car loan)
            Debtor 1 and Debtor 2 only                                      Statutory lien (such as tax lien, mechanic's lien)
            At least one of the debtors and another                         Judgment lien from a lawsuit
                                                                            Other (including a right to offset) ____________________
            Check if this claim relates to a
            community debt
       Date Debt was incurred _____________                            Last 4 digits of account number ____ ____ ____ ____

   Part 2:              List Others to Be Notified for a Debt That You Already Listed



 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

 2.3     City of Chicago Dept of Law, 17WD06330A                                                                        On which line in Part 1 did you enter the creditor? ___      2.3
        _________________________________________________________
           Name
         121 N LaSalle St.                                                                                              Last 4 digits of account number ____ ____ ____ ____
        _________________________________________________________
           Number               Street

         Room 107
        _________________________________________________________

         Chicago                                IL 60602
        _________________________________________________________
           City                                                     State   Zip Code

 2.3
         Markoff Law LLC, Bankruptcy Dept.
        _________________________________________________________
           Name
         29 N. Wacker Drive Suite 550
        _________________________________________________________                                                         Last 4 digits of account number ____ ____ ____ ____

           Number               Street

        _________________________________________________________

         Chicago                               IL   60606
        _________________________________________________________
           City                                                     State   Zip Code




       Add the dollar value of your entries in Column A on this page. Write that number here:                                                    106,555.67
                                                                                                                                               $_____________
Official Form 106D                       Record #      761247                    Schedule D: Creditors Who Have Claims Secured by _Property                                                   Page 2 of 2
                                Case 18-09086                      Doc 1       Filed 03/28/18 Entered 03/28/18 17:33:13                                       Desc Main
     Fill in this information to identify your case:                            Document     Page 20 of 61
     Debtor 1                Christie                  Irene                     Wright
                             __________________________________________________________________
                             First Name                    Middle Name                      Last Name


     Debtor 2                __________________________________________________________________
     (Spouse, if filing)     First Name                    Middle Name                      Last Name



     United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                            (State)
     Case Number ______________________________________________                                                                                                     Check if this is an
      (If known)                                                                                                                                                    amended filing

Official Form 106E/F
                                                                                                                                                                                             12/15
Schedule E/F: Creditors Who Have Unsecured Claims
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property . If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the
top of any additional pages, write your name and case number (if known).

     Part 1:               List All of Your PRIORITY Unsecured Claims


 1. Do any creditors have priority unsecured claims against you?

             No. Go to Part 2.

             Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
      each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
      nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
      unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                                Total claim     Priority       Nonpriority
                                                                                                                                                                amount         amount

                           List All of Your NONPRIORITY Unsecured Claims
     Part 2:


 3. Do any creditors have nonpriority unsecured claims against you?

             No. You have nothing to report in this part. Submit this form to the court with your other schedules.

             Yes.
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.
                                                                                                                                                                               Total claim
 4.1         AVANT
            _________________________________                                                                 4650____ ____
                                                                         Last 4 digits of account number ____ ____                                                               3,639.00
                                                                                                                                                                               $___________
            Creditor's Name
            222 N. Lasalle Suite 170
            _________________________________                            When was the debt incurred?                  2017-2018
                                                                                                                     ______________
             Number                 Street

            _________________________________                            As of the date you file, the claim is: Check all that apply.
                                                                            Contingent
            Chicago                IL  60601
            _________________________________                               Unliquidated
             City                               State   Zip Code
        Who owes the debt? Check one.                                       Disputed

              Debtor 1 only
              Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                    Student loans
              At least one of the debtors and another                       Obligations arising out of a separation agreement or divorce

             Check if this claim relates to a                               that you did not report as priority claims
             community debt                                                 Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offest?
              No                                                                             Personal Loan
                                                                            Other. Specify ______________________________________
              Yes




Official Form 106E/F                         Record #    761247                        Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 1 of 8
                           Case 18-09086                      Doc 1     Filed 03/28/18 Entered 03/28/18 17:33:13 Desc Main
Debtor 1      Christie                  Irene                     Wright Document
              __________________________________________________________________
                                                                                      Page 21 ofCase
                                                                                                  61Number (if known) ______________________________
              First Name                      Middle Name                    Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                 Total Claim


 4.2        Barclays BANK Delaware
           _________________________________                                                           NULL____ ____
                                                                  Last 4 digits of account number ____ ____                                              1,394.00
                                                                                                                                                       $___________
           Creditor's Name
           Po Box 8803
           _________________________________                      When was the debt incurred?                   2012-2018
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Wilmington             DE 19899
           _________________________________                          Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                                  Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                           that you did not report as priority claims
           community debt                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                         Credit Card or Credit Use
                                                                      Other. Specify ______________________________________
            Yes
 4.3        Capitalone
           _________________________________                                                           NULL____ ____
                                                                  Last 4 digits of account number ____ ____                                              1,214.00
                                                                                                                                                       $___________
           Creditor's Name
           15000 Capital One Dr
           _________________________________                      When was the debt incurred?                   2010-2018
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Richmond               VA 23238
           _________________________________                          Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                                  Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                           that you did not report as priority claims
           community debt                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                         Credit Card or Credit Use
                                                                      Other. Specify ______________________________________
            Yes
 4.4        Comenitycb/HSN
           _________________________________                                                           NULL____ ____
                                                                  Last 4 digits of account number ____ ____                                              3,138.00
                                                                                                                                                       $___________
           Creditor's Name
           Po Box 182120
           _________________________________                      When was the debt incurred?                   2012-2018
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Columbus               OH 43218
           _________________________________                          Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                                  Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                           that you did not report as priority claims
           community debt                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                         Credit Card or Credit Use
                                                                      Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        761247                     Schedule E/F: Creditors Who Have Unsecured Claims              Page 2 of 8
                           Case 18-09086                      Doc 1     Filed 03/28/18 Entered 03/28/18 17:33:13 Desc Main
Debtor 1      Christie                  Irene                     Wright Document
              __________________________________________________________________
                                                                                      Page 22 ofCase
                                                                                                  61Number (if known) ______________________________
              First Name                      Middle Name                    Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                 Total Claim


 4.5        Commonwealth Edison
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                    900.00
                                                                                                                                                       $___________
           Creditor's Name
           3 Lincoln Center 4th Floor
           _________________________________                      When was the debt incurred?                  ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Oakbrook Terrace       IL  60181
           _________________________________                          Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                                  Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                           that you did not report as priority claims
           community debt                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                         Utility Bills/Cellular Service
                                                                      Other. Specify ______________________________________
            Yes
 4.6        Equifax
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                    0.00
                                                                                                                                                       $___________
           Creditor's Name
           PO Box 740241
           _________________________________                      When was the debt incurred?                   2/22/2018 12:00:00 AM
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Atlanta                GA 30374
           _________________________________                          Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                                  Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                           that you did not report as priority claims
           community debt                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                        Other. Specify ______________________________________
            Yes
 4.7        Experian
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                    0.00
                                                                                                                                                       $___________
           Creditor's Name
           PO Box 2002
           _________________________________                      When was the debt incurred?                   2/22/2018 12:00:00 AM
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Allen                  TX 75013
           _________________________________                          Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                                  Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                           that you did not report as priority claims
           community debt                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                        Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        761247                     Schedule E/F: Creditors Who Have Unsecured Claims              Page 3 of 8
                           Case 18-09086                      Doc 1     Filed 03/28/18 Entered 03/28/18 17:33:13 Desc Main
Debtor 1      Christie                  Irene                     Wright Document
              __________________________________________________________________
                                                                                      Page 23 ofCase
                                                                                                  61Number (if known) ______________________________
              First Name                       Middle Name                   Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                 Total Claim


 4.8        Lending CLUB CORP
           _________________________________                                                           7280____ ____
                                                                  Last 4 digits of account number ____ ____                                              4,703.00
                                                                                                                                                       $___________
           Creditor's Name
           71 Stevenson St Ste 300
           _________________________________                      When was the debt incurred?                   2015-2017
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           San Francisco          CA 94105
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Personal Loan
                                                                      Other. Specify ______________________________________
            Yes
 4.9        Peoples Gas
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                    900.00
                                                                                                                                                       $___________
           Creditor's Name
           200 E. Randolph Dr.
           _________________________________                      When was the debt incurred?                  ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Chicago                IL  60601
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Utility Bills/Cellular Service
                                                                      Other. Specify ______________________________________
            Yes
 4.10       PERSONAL FINANCE/Marin
           _________________________________                                                           9214____ ____
                                                                  Last 4 digits of account number ____ ____                                              1,621.00
                                                                                                                                                       $___________
           Creditor's Name
           8211 Town Center Dr
           _________________________________                      When was the debt incurred?                   2017-2017
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Baltimore              MD 21236
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Personal Loan
                                                                      Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        761247                     Schedule E/F: Creditors Who Have Unsecured Claims              Page 4 of 8
                           Case 18-09086                      Doc 1     Filed 03/28/18 Entered 03/28/18 17:33:13 Desc Main
Debtor 1      Christie                  Irene                     Wright Document
              __________________________________________________________________
                                                                                      Page 24 ofCase
                                                                                                  61Number (if known) ______________________________
              First Name                       Middle Name                   Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                 Total Claim


 4.11       Prosper Marketplace IN
           _________________________________                                                           4651____ ____
                                                                  Last 4 digits of account number ____ ____                                              3,100.00
                                                                                                                                                       $___________
           Creditor's Name
           101 2Nd St Fl 15
           _________________________________                      When was the debt incurred?                   2014-2017
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           San Francisco          CA 94105
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Personal Loan
                                                                      Other. Specify ______________________________________
            Yes
 4.12       Sprint
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                    1,026.00
                                                                                                                                                       $___________
           Creditor's Name
           PO Box 7949
           _________________________________                      When was the debt incurred?                  ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Overland Park          KS 66207
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Utility Bills/Cellular Service
                                                                      Other. Specify ______________________________________
            Yes
 4.13       Syncb/ART VAN FURNITUR
           _________________________________                                                           NULL____ ____
                                                                  Last 4 digits of account number ____ ____                                              3,876.00
                                                                                                                                                       $___________
           Creditor's Name
           950 Forrer Blvd
           _________________________________                      When was the debt incurred?                   2014-2018
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Kettering              OH 45420
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card or Credit Use
                                                                      Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        761247                     Schedule E/F: Creditors Who Have Unsecured Claims              Page 5 of 8
                           Case 18-09086                      Doc 1     Filed 03/28/18 Entered 03/28/18 17:33:13 Desc Main
Debtor 1      Christie                  Irene                     Wright Document
              __________________________________________________________________
                                                                                      Page 25 ofCase
                                                                                                  61Number (if known) ______________________________
              First Name                       Middle Name                   Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                 Total Claim


 4.14       Syncb/CARE CREDIT
           _________________________________                                                           NULL____ ____
                                                                  Last 4 digits of account number ____ ____                                              458.00
                                                                                                                                                       $___________
           Creditor's Name
           950 Forrer Blvd
           _________________________________                      When was the debt incurred?                   2017-2018
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Kettering              OH 45420
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card or Credit Use
                                                                      Other. Specify ______________________________________
            Yes
 4.15       Syncb/TJX COS
           _________________________________                                                           NULL____ ____
                                                                  Last 4 digits of account number ____ ____                                              1,509.00
                                                                                                                                                       $___________
           Creditor's Name
           Po Box 965005
           _________________________________                      When was the debt incurred?                   2014-2018
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Orlando                FL 32896
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card or Credit Use
                                                                      Other. Specify ______________________________________
            Yes
 4.16       Syncb/Walmart
           _________________________________                                                           NULL____ ____
                                                                  Last 4 digits of account number ____ ____                                              1,368.00
                                                                                                                                                       $___________
           Creditor's Name
           Po Box 965024
           _________________________________                      When was the debt incurred?                   2014-2018
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Orlando                FL 32896
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card or Credit Use
                                                                      Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        761247                     Schedule E/F: Creditors Who Have Unsecured Claims              Page 6 of 8
                           Case 18-09086                      Doc 1     Filed 03/28/18 Entered 03/28/18 17:33:13 Desc Main
Debtor 1      Christie                  Irene                     Wright Document
              __________________________________________________________________
                                                                                      Page 26 ofCase
                                                                                                  61Number (if known) ______________________________
              First Name                       Middle Name                   Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                          Total Claim


 4.17       Terminix
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                            129.00
                                                                                                                                                               $___________
           Creditor's Name
           PO Box 742592
           _________________________________                      When was the debt incurred?                  ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Cincinnati             OH 45274
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                        Other. Specify ______________________________________
            Yes
 4.18       Transunion
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                            0.00
                                                                                                                                                               $___________
           Creditor's Name
           PO Box 1000
           _________________________________                      When was the debt incurred?                   2/22/2018 12:00:00 AM
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Chester                PA 19022
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                        Other. Specify ______________________________________
            Yes
 4.19       Webbank/Gettington
           _________________________________                                                           NULL____ ____
                                                                  Last 4 digits of account number ____ ____                                                      1,955.00
                                                                                                                                                               $___________
           Creditor's Name
           6250 Ridgewood Rd
           _________________________________                      When was the debt incurred?                   2011-2018
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Saint Cloud            MN 56303
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card or Credit Use
                                                                      Other. Specify ______________________________________
            Yes

   Part 3:          List Others to Be Notified for a Debt That You Already Listed



 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.




Official Form 106E/F                  Record #        761247                     Schedule E/F: Creditors Who Have Unsecured Claims                          Page 7 of 8
                          Case 18-09086                      Doc 1     Filed 03/28/18 Entered 03/28/18 17:33:13 Desc Main
Debtor 1     Christie                  Irene                     Wright Document
             __________________________________________________________________
                                                                                     Page 27 ofCase
                                                                                                 61Number (if known) ______________________________
             First Name                        Middle Name                 Last Name

                   Add the Amounts for Each Type of Unsecured Claim
   Part 4:


 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.



                                                                                                              Total claim

  Total claims            6a. Domestic support obligations                                          6a.     $______________________0.00
  from Part 1
                          6b. Taxes and Certain other debts you owe the                             6b.     $______________________0.00
                              government


                          6c. Claims for death or personal injury while you were                    6c.     $______________________0.00
                              intoxicated


                          6d. Other. Add all other priority unsecured claims.                       6d.     $______________________0.00
                              Write that amount here.




                          6e. Total. Add lines 6a through 6d.                                       6e.     $______________________0.00




                                                                                                              Total claim

  Total claims            6f. Student loans                                                         6f.     $______________________0.00
  from Part 2
                          6g. Obligations arising out of a separation agreement                     6g.     $______________________0.00
                              or divorce that you did not report as priority
                              claims


                          6h. Debts to pension or profit-sharing plans, and other                   6h.     $______________________0.00
                              similar debts


                          6i. Other. Add all other nonpriority unsecured claims.                    6i.                       30,930.00
                                                                                                            $______________________
                              Write that amount here.




                          6j. Total. Add lines 6f through 6i.                                       6j.                       30,930.00
                                                                                                            $______________________




Official Form 106E/F                   Record #      761247                     Schedule E/F: Creditors Who Have Unsecured Claims              Page 8 of 8
                            Case 18-09086                 Doc 1             Filed 03/28/18 Entered 03/28/18 17:33:13                                Desc Main
   Fill in this information to identify your case:                           Document     Page 28 of 61
   Debtor 1              Christie                  Irene                     Wright
                         __________________________________________________________________
                         First Name                  Middle Name                      Last Name


   Debtor 2              __________________________________________________________________
   (Spouse, if filing)   First Name                  Middle Name                      Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                      (State)
   Case Number ______________________________________________                                                                                                Check if this is an
       (If known)                                                                                                                                            amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).
 1. Do you have any executory contracts or unexpired leases?

            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

            Yes. Fill in all of the information below even if the contracts or leases are listed in Schedule A/B: Property (Official Form 106A/B)


 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.


        Person or company with whom you have the contract or lease                                                 State what the contract or lease is for


 2.1
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code


 2.2
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code


 2.3
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code



 2.4
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code


 2.5
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code




Official Form 106G                       Record #   761247                     Schedule G. Executory Contracts and Unexpired Leases                                           Page 1 of 1
                          Case 18-09086                       Doc 1                 Filed 03/28/18 Entered 03/28/18 17:33:13                             Desc Main
                                                                                     Document     Page 29 of 61
   Fill in this information to identify your case:


   Debtor 1               Christie                  Irene                     Wright
                          __________________________________________________________________
                          First Name                         Middle Name                   Last Name


   Debtor 2               __________________________________________________________________
   (Spouse, if filing)    First Name                         Middle Name                   Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                           (State)
   Case Number ______________________________________________                                                                                                  Check if this is an
    (If known)                                                                                                                                                 amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy
the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of
any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

           No.

           Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Lousiiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.

           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes. Inwhich community state or territory did you live? __________________. Fill in the name and current address of that person.

                   _______________________________________________________________
                   Name of your spouse, former spouse or legal equivalent
                   _______________________________________________________________
                   Number          Street
                   _______________________________________________________________
                   City                                                       State                     Zip Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
       shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
       Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
       Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                                       Column 2: The creditor to whom you owe the debt

                                                                                                                       Check all schedules that apply:

 3.1                                                                                                                       Schedule D, line __________
          _______________________________________________________________
          Name
                                                                                                                           Schedule E/F, line __________
          _______________________________________________________________
           Number                Street
                                                                                                                           Schedule G, line __________
          _______________________________________________________________
           City                                                             State                      Zip Code

 3.2      _______________________________________________________________                                                  Schedule D, line __________
          Name
                                                                                                                           Schedule E/F, line __________
          _______________________________________________________________
           Number                Street
                                                                                                                           Schedule G, line __________
          _______________________________________________________________
           City                                                             State                      Zip Code

 3.3      _______________________________________________________________                                                  Schedule D, line __________
          Name
                                                                                                                           Schedule E/F, line __________
          _______________________________________________________________
           Number                Street
                                                                                                                           Schedule G, line __________
          _______________________________________________________________
           City                                                             State                      Zip Code




Official Form 106H                          Record #      761247                          Schedule H: Your Codebtors                                                     Page 1 of 1
                              Case 18-09086                      Doc 1       Filed 03/28/18 Entered 03/28/18 17:33:13                               Desc Main
                                                                              Document     Page 30 of 61
      Fill in this information to identify your case:


      Debtor 1                Christie                  Irene                     Wright
                              __________________________________________________________________
                              First Name                       Middle Name            Last Name


      Debtor 2                __________________________________________________________________
      (Spouse, if filing)     First Name                       Middle Name            Last Name



      United States Bankruptcy Court for the : __ NORTHERN DISTRICT OF ILLINOIS __

      Case Number ______________________________________________                                                      Check if this is:
       (If known)
                                                                                                                           An amended filing
                                                                                                                           A supplement showing post-petition
                                                                                                                           chapter 13 income as of the following date:
                                                                                                                           _______________
Official Form 106I                                                                                                         MM / DD / YYYY

Schedule I: Your Income                                                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:                   Describe Employment



1.        Fill in your employment                                                            Debtor 1                                      Debtor 2 or non-filing spouse
          information

          If you have more than one job,
          attach a separate page with                                                        X    Employed                                 Employed
          information about additional                    Employment status
                                                                                                  Not employed                             Not employed
          employers.

          Include part-time, seasonal, or
          self-employed work.                             Occupation                     Customer Service Rep
          Occupation may Include student
          or homemaker, if it applies.                    Employers name                 Avis Budget Rental Car

                                                          Employers address              1 ADP Drive

                                                                                         Augusta, GA 30909                            ,



                                                          How long employed there?       Since 2/1/1996


  Part 2:                   Give Details About Monthly Income


          Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
          spouse unless you are separated.
          If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the
          lines below. If you need more space, attach a separate sheet to this form.



                                                                                                                 For Debtor 1             For Debtor 2 or
                                                                                                                                          non-filing spouse

 2.        List monthly gross wages, salary and commissions (before all payroll
           deductions). If not paid monthly, calculate what the monthly wage would be.                               $3,191.96                           $0.00


 3.        Estimate and list monthly overtime pay.
                                                                                                                          $0.00                          $0.00

 4.        Calculate gross income. Add line 2 + line 3.
                                                                                                                 $3,191.96                       $0.00




Official Form 106I                         Record #   761247                   Schedule I: Your Income                                                               Page 1 of 2
                     Case 18-09086                               Doc 1                Filed 03/28/18 Entered 03/28/18 17:33:13                                Desc Main
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Debtor 1     Christie                  Irene                     Wright
             __________________________________________________________________                                                 Case Number (if known) ______________________________
             First Name                               Middle Name                               Last Name



                                                                                                                            For Debtor 1           For Debtor 2 or
                                                                                                                                                   non-filing spouse

      Copy line 4 here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 4.   $3,191.96                      $0.00
5. List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                               5a.        $351.11                          $0.00
      5b. Mandatory contributions for retirement plans                                                                5b.            $0.00                        $0.00
      5c. Voluntary contributions for retirement plans                                                                5c.            $0.00                        $0.00
      5d. Required repayments of retirement fund loans                                                                5d.            $0.00                        $0.00
      5e. Insurance                                                                                                   5e.        $286.00                          $0.00
      5f. Domestic support obligations                                                                                5f.            $0.00                        $0.00
      5g. Union dues                                                                                                  5g.          $97.50                         $0.00
      5h. Other deductions. Specify: ______________________________
                                          Life Insurance(D1), AD&D(D1),                                               5h.          $76.27                         $0.00
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                          6.        $810.88                          $0.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                 7.    $2,381.08                    $0.00
8. List all other income regularly received:
      8a.     Net income from rental property and from operating a business,

              profession, or farm

              Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total

              monthly net income.                                                                                     8a.           $0.00                        $0.00
      8b.     Interest and dividends                                                                                  8b.           $0.00                        $0.00
      8c.     Family support payments that you, a non-filing spouse, or a                                             8c.          $ 0.00                      $ 0.00
              dependent regularly receive
              Include alimony, spousal support, child support, maintenance, divorce

              settlement, and property settlement.
      8d.     Unemployment compensation                                                                               8d.           $0.00                        $0.00
      8e.     Social Security                                                                                         8e.           $0.00                        $0.00
      8f.     Other government assistance that you regularly receive                                                  8f.           $0.00                        $0.00
              Include cash assistance and the value (if known) of any non-cash

              assistance that you receive, such as food stamps (benefits under the
              Supplemental Nutrition Assistance Program) or housing subsidies.
              Specify: ____________________________________________
      8g.     Pension or retirement income                                                                            8g.           $0.00                        $0.00
      8h.                                        Family Contributio ($350), Tax
           Other monthly income. Specify: __________________________                                                  8h.        $990.00                         $0.00
                                                 Refund ($640),
9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.        $990.00                         $0.00

10.   Calculate monthly income. Add line 7 + line 9.                                                                  10.                     +                           =
                                                                                                                            $3,371.08                    $0.00                    $3,371.08
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

11.   State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives .
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify: _______________________________________________________________________________                                                                            11.           $0.00
12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
      Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                        12.     $3,371.08
13.   Do you expect an increase or decrease within the year after you file this form?

           X No.

             Yes. Explain:




Official Form 106I              Record #          761247                                    Schedule I: Your Income                                                             Page 2 of 2
                                 Case 18-09086                   Doc 1           Filed 03/28/18 Entered 03/28/18 17:33:13                                  Desc Main
                                                                                  Document     Page 32 of 61
   Fill in this information to identify your case:


      Debtor 1                Christie                  Irene                     Wright
                              __________________________________________________________________                             Check if this is:
                              First Name                   Middle Name                        Last Name
                                                                                                                                    An amended filing
      Debtor 2                __________________________________________________________________                                    A supplement showing post-petition chapter 13
      (Spouse, if filing)     First Name                   Middle Name                        Last Name
                                                                                                                                    income as of the following date:
      United States Bankruptcy Court for the : __ NORTHERN DISTRICT OF ILLINOIS __                                                  _______________
                                                                                                                                    MM / DD / YYYY
      Case Number ______________________________________________
      (If known)

                                                                                                                                    A separate filing for Debtor 2 because Debtor 2
Official Form 106J                                                                                                                  maintains a separate household.

Schedule J: Your Expenses                                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

  Part 1:                   Describe Your Household

 1. Is this a joint case?
           X No. Go to line 2.

                 Yes. Does Debtor 2 live in a separate household?
                                   No.
                                   Yes. Debtor 2 must file a separate Schedule J.


 2.        Do you have dependents?                                 No                                             Dependent's relationship to      Dependent's     Does dependent live
                                                                                                                  Debtor 1 or Debtor 2             age             with you?
           Do not list Debtor 1 and                          X     Yes. Fill out this information for
           Debtor 2.                                               each dependent..............................                                                         No
                                                                                                                  Son                                   13
                                                                                                                                                                     X Yes
           Do not state the dependents'
           names.                                                                                                                                                       No
                                                                                                                  Daughter                              11
                                                                                                                                                                     X Yes

                                                                                                                                                                     X No

                                                                                                                                                                        Yes

                                                                                                                                                                     X No

                                                                                                                                                                        Yes
                                                                                                                                                                     X No

                                                                                                                                                                        Yes

 3.        Do your expenses include                                X     No
           expenses of people other than
           yourself and your dependents?                                 Yes


  Part 2:                   Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in
 the applicable date.
 Include expenses paid for with non-cash government assistance if you know the value
 of such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                                        Your expenses


 4.         The rental or home ownership expenses for your residence. Include first mortgage payments and
            any rent for the ground or lot.                                                                                                                4.                     $1,065.00
            If not included in line 4:

            4a.       Real estate taxes                                                                                                                   4a.                             $0.00

            4b.       Property, homeowner's, or renter's insurance                                                                                        4b.                             $0.00

            4c.       Home maintenance, repair, and upkeep expenses                                                                                       4c.                            $50.00
            4d.       Homeowner's association or condominium dues                                                                                         4d.                             $0.00


Official Form 106J                           Record #      761247                     Schedule J: Your Expenses                                                              Page 1 of 3
                          Case 18-09086                  Doc 1      Filed 03/28/18 Entered 03/28/18 17:33:13                            Desc Main
                                                                     Document     Page 33 of 61
Debtor 1     Christie                  Irene                     Wright
             __________________________________________________________________                        Case Number (if known) ______________________________
             First Name                    Middle Name                  Last Name



                                                                                                                                            Your expenses


 5.    Additional Mortgage payments for your residence, such as home equity loans                                                      5.                         $0.00

 6.    Utilities:
       6a.     Electricity, heat, natural gas                                                                                         6a.                       $300.00

       6b.     Water, sewer, garbage collection                                                                                       6b.                        $75.00

       6c.     Telephone, cell phone, internet, satellite, and cable service                                                          6c.                       $265.00

       6d.     Other. Specify:____________________________________                                                                    6d.        $                    0.00

 7.    Food and housekeeping supplies                                                                                                  7.                       $402.00

 8.    Childcare and children’s education costs                                                                                        8.                         $0.00

 9.    Clothing, laundry, and dry cleaning                                                                                             9.                       $125.00

 10.   Personal care products and services                                                                                            10.                       $100.00

 11.   Medical and dental expenses                                                                                                    11.                        $50.00

 12.   Transportation. Include gas, maintenance, bus or train fare.                                                                   12.                       $233.88
       Do not include car payments.

 13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                                             13.                         $0.00

 14.   Charitable contributions and religious donations                                                                               14.                         $0.00
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                                           15a.                         $0.00

       15b. Health insurance                                                                                                         15b.                         $0.00

       15c. Vehicle insurance                                                                                                        15c.                       $130.00

       15d. Other insurance. Specify:_______________________________________                                                         15d.                         $0.00

 16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

       Specify: ________________________________________________________                                                              16.                         $0.00

 17.   Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                                               17a.                         $0.00

       17b. Car payments for Vehicle 2                                                                                               17b.                         $0.00

       17c. Other. Specify:_______________________________________________                                                           17c.                         $0.00

       17d. Other. Specify:__________________________________________________________________                                        17d.                         $0.00

 18.   Your payments of alimony, maintenance, and support that you did not report as deducted

       from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                         18.                         $0.00
 19.   Other payments you make to support others who do not live with you.

       Specify:_______________________________________________________                                                                19.                         $0.00

 20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                                              20a.                         $ 0.00
       20b. Real estate taxes                                                                                                        20b.        $                    0.00

       20c. Property, homeowner’s, or renter’s insurance                                                                             20c.        $                    0.00

       20d. Maintenance, repair, and upkeep expenses                                                                                 20d.        $                    0.00

       20e. Homeowner’s association or condominium dues                                                                              20e.        $                    0.00




Official Form 106J                  Record #       761247              Schedule J: Your Expenses                                                        Page 2 of 3
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Debtor 1       Christie                  Irene                     Wright
               __________________________________________________________________                            Case Number (if known) ______________________________
               First Name                       Middle Name                  Last Name



 21.   Other. Specify: ________________________________________________________                                                             21.                         $0.00
 22.. Your monthly expense: Add lines 4 through 21.                                                                                         22.                      $2,795.88
       The result is your monthly expenses.




 23.   Calculate your monthly net income.

       23a.                 Copy line 12 (your comibined monthly income) from Schedule I.                                                  23a.                      $3,371.08

       23b.                 Copy your monthly expenses from line 22 above.                                                                 23b.   -                  $2,795.88

       23c.                 Subtract your monthly expenses from your monthly income.                                                       23c.            $575.20
                            The result is your monthly net income.




 24.   Do you expect an increase or decrease in your expenses within the year after you file this form?
       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
           X    No
                Yes.            Explain Here:




Official Form 106J                       Record #       761247            Schedule J: Your Expenses                                                           Page 3 of 3
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   Fill in this information to identify your case:


    Debtor 1                Christie                  Irene                     Wright
                            __________________________________________________________________
                            First Name                     Middle Name                  Last Name


    Debtor 2                __________________________________________________________________
    (Spouse, if filing)     First Name                     Middle Name                  Last Name


    United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                  (State)
    Case Number ______________________________________________
    (If known)                                                                                                                                        Check if this is an
                                                                                                                                                      amended filing




Official Form 106 Dec
Declaration About an Individual Debtor's Schedules                                                                                                                             12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                          Sign Below




   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

             No

             Yes. Name of Person _____________________________________________.                               Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                              Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and
   correct.




  û       /s/ Christie Irene Wright
         ________________________________________
         Signature of Debtor 1
                                                                                 û     ______________________________________
                                                                                       Signature of Debtor 2


               03/27/2018
         Date _________________                                                        Date _________________
              MM / DD / YYYY                                                                 MM / DD / YYYY




Official Form 106Dec                     Record # 761247        Declaration About an Individual Debtor's Schedules                                                     page 1
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   Fill in this information to identify your case:


   Debtor 1                Christie                  Irene                     Wright
                           __________________________________________________________________
                           First Name                     Middle Name                  Last Name


   Debtor 2                __________________________________________________________________
   (Spouse, if filing)     First Name                     Middle Name                  Last Name


   United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                       (State)
   Case Number ______________________________________________
    (If known)                                                                                                                                      Check if this is an
                                                                                                                                                    amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


   Part 1:               Give Details About Your Marital Status and Where You Lived Before

 01. What is your current marital status?


           Married
            Not married


 02 During the last 3 years, have you lived anywhere other than where you live now?

            No.
            Yes. List all of the places you lived in the last 3 years. Do not include where you live now.


              Debtor 1                                                           Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                                                 lived there                                                           lived there
 03 Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
     property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington,
     and Wisconsin.)
            No.
            Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




   Part 2:               Explain the Sources of Your Income




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Debtor 1     Christie                  Irene                     Wright
             __________________________________________________________________                             Case Number (if known) ______________________________
             First Name                   Middle Name                Last Name


 04   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No.
           Yes. Fill in the details
                                                         Debtor 1                                                  Debtor 2
                                                         Sources of income          Gross income                   Sources of income           Gross income
                                                         Check all that apply       (before deductions and         Check all that apply        (before deductions and
                                                                                    exclusions)                                                exclusions)

           From January 1 of current year until             Wages, commissions,       $ 7,366
                                                                                    ___________________               Wages, commissions,      ___________________
                                                            bonuses, tips                                             bonuses, tips
           the date you filed for bankruptcy:
                                                            Operating a business                                      Operating a business




           For last calendar year:                          Wages, commissions,       $ 37,804
                                                                                    ___________________               Wages, commissions,      ___________________
                                                            bonuses, tips                                             bonuses, tips
           (January 1 to December 31, 2017)
                                                            Operating a business                                      Operating a business




           For the calendar year before that:               Wages, commissions,       $ 33,573
                                                                                    ___________________               Wages, commissions,      ___________________
                                                            bonuses, tips                                             bonuses, tips
           (January 1 to December 31, 2016)
                                                            Operating a business                                      Operating a business




 05 Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No.
           Yes. Fill in the details
                                                         Debtor 1                                                  Debtor 2
                                                         Sources of income          Gross income                   Sources of income           Gross income
                                                         Describe below.            (before deductions and         Describe below.             (before deductions and
                                                                                    exclusions)                                                exclusions)

   Part 3:       List Certain Payments You Made Before You Filed for Bankruptcy




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Debtor 1    Christie                  Irene                     Wright
            __________________________________________________________________                                   Case Number (if known) ______________________________
            First Name                        Middle Name                 Last Name


 06   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?


           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                 “incurred by an individual primarily for a personal, family, or household purpose.”
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?


                         No. Go to line 7.


                         Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
           * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.


            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No. Go to line 7.


                         Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.



                                                                        Dates of          Total amount paid              Amount you still owe     Was this payment for...
                                                                        payments



                            ___________________________
                             ALLY Financial 200 Renaissance            Monthly           ___________________
                                                                                           $ 375                     ___________________
                                                                                                                       $ 11,122                      Mortgage
                            ___________________________
                             Ctr Detroit MI 48243                                                                                                    Car
                                                                                                                                                     Credit card
                            ___________________________
                                                                                                                                                     Loan repayment
                            ___________________________
                                                                                                                                                     Suppliers or vendors
                                                                                                                                                     Other ____________




                            ___________________________
                             Bayview Loan Servicing                    Monthly           ___________________
                                                                                           $ 1,066                   ___________________
                                                                                                                       $ 93,812                      Mortgage
                            ___________________________
                             4425 Ponce De Leon                                                                                                      Car
                                                                                                                                                     Credit card
                            ___________________________
                             Miami, FL 33146
                                                                                                                                                     Loan repayment
                            ___________________________
                                                                                                                                                     Suppliers or vendors
                                                                                                                                                     Other ____________




 07   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      such as child support and alimony.

           No.
           Yes. List all payments to an insider.
                                                                        Dates of          Total amount           Amount you still          Reason for this payment
                                                                        payment           paid                   owe




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Debtor 1        Christie                  Irene                     Wright
                __________________________________________________________________                                Case Number (if known) ______________________________
                First Name                    Middle Name                Last Name


 08     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
        an insider?
        Include payments on debts guaranteed or cosigned by an insider.

            No.
            Yes. List all payments to an insider.
                                                                       Dates of           Total amount           Amount you still           Reason for this payment
                                                                       payment            paid                   owe                        Include creditor's name

   Part 4:          Identify Legal actions, Repossessions, and Foreclosures

 09     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
        List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
        modifications, and contract disputes.

            No.
            Yes. Fill in the details.
                                                                 Nature of the case                  Court or agency                                      Status of the case
                _________________________________
                 City of Chicago v. Christe I. Wright             Administrative                     City
                                                                                                     _________________________________
                                                                                                          of Chicago Dept of Administrative                  Pending
                _________________________________
                 17WD06330A                                                                          Hearing
                                                                                                     _________________________________                       On appeal
                _________________________________                                                     _________________________________                      Concluded
                _________________________________                                                     _________________________________


 10     Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

            No. Go to line 11
            Yes. Fill in the information below.


 11     Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts
        or refuse to make a payment because you owed a debt?

            No. Go to line 11
            Yes. Fill in the information below.
 12 Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
       court-appointed receiver, a custodian, or another official?
           No.
           Yes.


   Part 5:          List Certain Gifts and Contributions

 13     Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

            No.
            Yes. Fill in the details for each gift.
 14     Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

            No.
            Yes. Fill in the details for each gift.


   Part 6:          List Certain Losses


 15     Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
        gambling?

            No.
            Yes. Fill in the details for each gift.


      Part 7:       List Certain Payments or Transfers


 16     Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.




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             First Name                      Middle Name                   Last Name




           No.
           Yes. Fill in the details

           Party Contact Info                                       Description and value of any property transferred                   Date payment      Amount of payment
                                                                                                                                        or transfer

             _________________________________
              Geraci Law L.L.C.                                                                                                        2018              Payment/Value:
                                                                                                                                                        ___________________
                                                                                                                                                         $4,000.00: $0.00
             _________________________________
              55 E. Monroe Street #3400
                                                                                                                                                         paid prior to filing,
             _________________________________
              Chicago,IL 60603                                                                                                                           balance to be paid
                                                                                                                                                         through the plan.
             _________________________________




           Party Contact Info                                       Description and value of any property transferred                   Date payment      Amount of payment
                                                                                                                                        or transfer
                                                                   Credit Counseling Services                                                            $25.00
             _________________________________
              Hananwill Credit Counseling                                                                                              2018             ___________________
             _________________________________
              115 N. Cross St.
             _________________________________
              Robinson, IL 62454
             _________________________________




 17   Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

           No.
           Yes. Fill in the details.


 18   Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.

           No.
           Yes. Fill in the details for each gift.

 19   Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
      beneficiary? (These are often called asset-protection devices.)

           No.
           Yes. Fill in the details for each gift.


   Part 8:       List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


 20   Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
      sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
      houses, pension funds, cooperatives, associations, and other financial institutions.

           No.
           Yes. Fill in the details.
                                                           Last 4 digits of account number      Type of account or          Date account was       Last balance before
                                                                                                instrument                  closed, sold, moved,   closing or transfer
                                                                                                                            or transferred




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                __________________________________________________________________                               Case Number (if known) ______________________________
                First Name                   Middle Name                     Last Name


 21     Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

            No.
            Yes. Fill in the details.
                                                           Who else had access to it?                Describe the contents                    Do you still
                                                                                                                                              have it?
 22     Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No.
            Yes. Fill in the details.
                                                           Who else has or had access to it?         Describe the contents                    Do you still
                                                                                                                                              have it?

      Part 9:       Identify Property You Hold or Control for Someone Else

 23     Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

            No.
            Yes. Fill in the details.
                                                           Where is the property?                    Describe the property                    Value



   Part 10:         Give Details About Environmental Information


 For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.

       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
       it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24     Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No.
            Yes. Fill in the details.
                                                           Governmental unit                         Environmental law, if you know it        Date of notice


 25     Have you notified any governmental unit of any release of hazardous material?

            No.
            Yes. Fill in the details.
                                                           Governmental unit                         Environmental law, if you know it        Date of notice


 26     Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Fill in the details.
                                                           Court or agency                           Nature of the case                       Status of the case



   Part 11:         Give Details About Your Business or Connections to Any Business


 27     Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                  A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                  A member of a limited liability company (LLC) or limited liability partnership (LLP)
                  A partner in a partnership
                  An officer, director, or managing executive of a corporation
                  An owner of at least 5% of the voting or equity securities of a corporation




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             __________________________________________________________________                                Case Number (if known) ______________________________
                First Name                 Middle Name                  Last Name




            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.


 28    Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
       institutions, creditors, or other parties.

            No.
            Yes. Fill in the details.
                                                         Date issued

  Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




      û     /s/ Christie Irene Wright
            ________________________________________
            Signature of Debtor 1
                                                                             û      ______________________________________
                                                                                    Signature of Debtor 2


                  03/27/2018
            Date _________________                                                  Date _________________
                  MM / DD / YYYY                                                          MM / DD / YYYY


      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

           No

           Yes

      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

           No

           Yes. Name of person ___________________________________________________. Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                Declaration, and Signature (Official Form 119).




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B2030 (Form 2030) (12/15)

                                                  United States Bankruptcy Court
                                           NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
In re

Christie Irene Wright / Debtor                                                                        Case No:

                                                                                                      Chapter:     Chapter 13

                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept                    $4,000.00
        Prior to the filing of this statement I have received               $0.00
        Balance Due                                                    $4,000.00




2.      The source of the compensation paid to me was:
              Debtor(s)               Other: (specify)
3.      The source of compensation to be paid to me is:

               Debtor(s)              Other: (specify)
4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
            of my law firm.

            I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
            of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
            attached.
5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.     Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
            bankruptcy;
     b.     Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;


6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:




                                                                CERTIFICATION
                       I certify that the foregoing is a complete statement of any agreement or arrangement for
                    payment to me for representation of the debtor(s) in this bankruptcy proceedings.

                       Date: 03/28/2018
                       ____________________________               /s/ Lisa LaShawn Haley
                                                                  ____________________________
                       Date                                       Signature of Attorney

                                                                  ________________________________________
                                                                   Geraci Law L.L.C.
                                                                  Name of law firm




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                                                   0.00
                                  4000.00
                                                     310.00


                                0.00
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                                                                   4,000.00
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                                   UNITED STATES BANKRUPTCY COURT
In re
                              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Christie Irene Wright / Debtor                                                                          Bankruptcy Docket #:
                                                                                                         Judge:


                                           VERIFICATION OF CREDITOR MATRIX
The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of our knowledge.




                      I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.




Dated: 03/27/2018                         /s/ Christie Irene Wright                                                      X Date & Sign
                                                            Christie Irene Wright




           * Joint debtors must provide information for both spouses. Penalty for making a false statement or concealing property: Fine
                                   up to $500,000 or up to 5 years imprisonment or both. 18 U.S.C. 152 and 3571.
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B 201A (Form 201A) (11/11)            In re Christie Irene Wright / Debtor

                                  UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                     OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you
notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your
spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly- addressed
envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies

    With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis . The briefing must be given within
180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings
conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency
approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you
may consult of the approved budget and credit counseling agencies. Each debtor in a joint case must complete the
briefing.

    In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

    Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335
    Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the
case should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
to decide whether the case should be dismissed.
    Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
creditors.
    The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are




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Form B 201A, Notice to Consumer Debtor(s)       In re Christie Irene Wright / Debtor                                                                       Page 2
found to have committed certainUNITED                      STATES
                                             kinds of improper      conduct BANKRUPTCY                  COURT
                                                                                described in the Bankruptcy        Code, the court may deny your
discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
            Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may
still be responsible for most taxes   NOTICE
                                         and studentTO    CONSUMER
                                                     loans; debts incurred to DEBTOR(S)
                                                                                pay nondischargeableUNDER        §342(b)
                                                                                                        taxes; domestic  support and
property settlement obligations; most fines, penalties,OF THE        BANKRUPTCY
                                                             forfeitures,                       CODE
                                                                           and criminal restitution  obligations; certain debts which are
not properly    listed in yourwith
            In accordance        bankruptcy  papers;
                                      § 342(b)  of theand debts for death
                                                       Bankruptcy    Code, or this
                                                                               personal injury
                                                                                   notice      caused by operating
                                                                                           to individuals            a motorconsumer
                                                                                                            with primarily    vehicle, debts: (1)
vessel,
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes,breach
         or  aircraft while intoxicated   from  alcohol or drugs.  Also,  if a creditor can prove  that a debt arose from  fraud,  benefits and
of fiduciary
costs  of theduty,
                four or  theft,oforbankruptcy
                      types         from a willful and malicious
                                               proceedings   youinjury,   the bankruptcy
                                                                   may commence;        andcourt  may determine
                                                                                             (3) Informs          that the
                                                                                                           you about       debt is notcrimes and
                                                                                                                       bankruptcy
discharged.
notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

     Chapter
          You13:are Repayment    of All
                    cautioned that      or Part oflaw
                                     bankruptcy    the Debts   of an Individual
                                                       is complicated     and notwith   Regular
                                                                                    easily       Income
                                                                                           described.     ($235you
                                                                                                       Thus,     filing
                                                                                                                     may wish to seek the
fee, $75 administrative   fee: Total fee $310)
advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
     Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
cannot  give you legal advice.
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
     Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you
them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
depending upon your income and other factors. The court must approve your plan before it can take effect.
individuals   married to
     After completing  theeach  other),
                            payments    and your
                                      under  eachplan,
                                                   spouse
                                                        yourlists theare
                                                              debts    same  mailing
                                                                         generally     address except
                                                                                    discharged  on thefor
                                                                                                       bankruptcy     petition, you and your
                                                                                                           domestic support
spouse   will most
obligations;  generally  receive
                   student        a singletaxes;
                           loans; certain   copymost
                                                  of each  notice
                                                      criminal      mailed
                                                                 fines      from the obligations;
                                                                       and restitution  bankruptcycertain
                                                                                                    court in  a jointly-
                                                                                                            debts         addressed
                                                                                                                  which are  not
envelope,
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain longall notices.
            unless  you file a statement   with  the court requesting    that each   spouse  receive a separate    copy of
term secured obligations.
1. Services Available from Credit Counseling Agencies
     Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total fee $1,717)
     Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are
quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

     Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
     Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The



 Dated: 03/27/2018                            /s/ Christie Irene Wright
                                                                     Christie Irene Wright




Dated: 03/28/2018                             /s/ Lisa LaShawn Haley
                                              Attorney: Lisa LaShawn Haley

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